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 9
10                                 UNITED STATES DISTRICT COURT
11                              NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN FRANCISCO DIVISION
13
      IN RE: CAPACITORS                                    Master File No. 3:14-cv-03264-JD
14    ANTITRUST LITIGATION
15                                                         UNITED STATES’ NOTICE OF
                                                           MOTION AND MOTION TO
16
                                                           INTERVENE
17
18                                                         Date: October 29, 2014
19                                                         Time: 9:30 a.m.

20                                                         Judge: Honorable James Donato

21
22   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
23
24          PLEASE TAKE NOTICE THAT the United States files this motion to be heard on
25   Wednesday, October 29, 2014 at 9:30 a.m. before the Honorable James Donato. The United
26   States of America, through the Antitrust Division of the U.S. Department of Justice, moves for
27   permissive intervention under Fed. R. Civ. P. 24(b)(1)(B). A federal grand jury empanelled in
28   the Northern District of California is investigating allegations of price fixing, bid rigging, and

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     MOTION TO INTERVENE                                                       Case No. 3:14-cv-03264-JD
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 1   market allocation in the capacitors industry, in violation of the Sherman Act, 15 U.S.C. § 1. This
 2   grand jury investigation shares common questions of fact and law with the above-captioned civil
 3   case.
 4           The United States seeks to intervene in this civil case for the purpose of seeking a limited
 5   stay of discovery. A limited stay will protect the integrity of the ongoing grand jury
 6   investigation and facilitate an efficient and orderly resolution of the parallel criminal and civil
 7   matters.
 8           This motion is unopposed. The government requests that this motion be scheduled for a
 9   hearing, if one is necessary, in advance of the usual 35 days. The United States respectfully
10   requests that, should the Court want a hearing on this motion, it set the hearing for October 29,
11   2014, the same day the Court has scheduled a Case Management Conference for the civil case.
12   The United States has also filed an unopposed motion to shorten time pursuant to Civil L.R. 6-3.
13           If the court sets a hearing for this motion, Trial Attorney Andrew J. Nicholson-Meade
14   will represent the United States for any oral argument. Pursuant to paragraph 13 of the Court’s
15   Standing Orders for Civil Cases, the United States advises the Court that Mr. Nicholson-Meade
16   has less than six years experience as an attorney.
17           This motion is supported by the Memorandum in Support of United States’ Motion To
18   Intervene, the Declaration of Jacklin Chou Lem, and the Declaration of Howard Parker. The
19   government requests that the Lem Declaration be filed under seal, and has accompanied the Lem
20   Declaration with the appropriate sealing motion, declaration, and proposed order. Finally, the
21   United States has also filed a Proposed Order Granting United States’ Motion to Intervene.
22
23   Dated: October 22, 2014                                Respectfully Submitted,
24
25                                                          /s/ Andrew J. Nicholson-Meade________
                                                            JACKLIN CHOU LEM
26                                                          ANDREW J. NICHOLSON-MEADE
27                                                          Trial Attorneys
                                                            U.S. Department of Justice
28                                                          Antitrust Division

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     UNITED STATES’ NOTICE OF MOTION AND
     MOTION TO INTERVENE                                                        Case No. 3:14-cv-03264-JD
